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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

  VICKI MICHAEL, On behalf of herself
  and all others similarly situated,           Case No. 4:18-cv-00277-DCN

                                               MEMORANDUM DECISION AND
        Plaintiff,                             ORDER

         v.

  CONAGRA BRANDS, INC. PENSION
  PLAN FOR HOURLY PRODUCTION
  WORKERS, an employee pension
  benefit plan; CONAGRA BRANDS
  EMPLOYEE BENEFITS
  ADMINISTRATIVE COMMITTEE, the
  Plan Administrator; CONAGRA
  BRANDS APPEALS COMMITTEE; and
  DOES I-XX, individual members of the
  Plan administrative and/or appeals
  committees,

        Defendants.



                                 I. INTRODUCTION

      Pending before the Court is a Motion for More Definitive Statement (Dkt. 5) filed

by Defendants ConAgra Brand, Inc. Pension Plan for Hourly Production Workers (“the

ConAgra Plan”), ConAgra Brands Employee Benefits Administrative Committee

(“Administrative Committee”), ConAgra Brands Appeals Committee (“Appeals

Committee”), and Does I-XX (“Does”) (referred to collectively as “Defendants”).

Defendants move for a more definite statement regarding the claims and allegations



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against each of them. The Court finds this matter suitable for disposition without oral

argument. See Dist. Idaho Loc. Civ. R. 7.1(d)(2)(ii). Having considered the parties’

submissions and the relevant legal authority, the Court GRANTS Defendants’ Motion.

                                  II. BACKGROUND

       This case stems from the administration of a qualified pension plan under the

Employee Retirement Income Security Act of 1974 (“ERISA”). See ERISA §3(2)(A), 29

U.S.C. § 1002(2)(A). Plaintiff Vicki Michael (“Michael”) was a participant in the

ConAgra Plan. The history of how Michael became a participant in the ConAgra Plan

spans over 42 years of her employment, and is summarized as follows:

       In 1974, Michael began her employment at a processing plant (“Lamb-Weston”)

in American Falls, Idaho. At that time, Amfac Foods, Inc. owned the plant and

established and maintained an employee benefits plan called the Pension Plan for Hourly

Bargaining Unit Employees of Amfac Foods, Inc. (“Prior Amfac Plan”). Michael earned

benefits under the Prior Amfac Plan from 1974 to 1988.

       In 1988, Amfac Foods, Inc. terminated the Prior Amfac Plan following the sale of

its outstanding common stock. The Pension Plan for Hourly Bargaining Unit Employees

of Lamb-Weston, Inc. (“Lamb-Weston Plan”) replaced the Prior Amfac Plan. Relevant

here, the Lamb-Weston Plan vested service credit to employees who earned employment

credit under the Prior Amfac Plan. Michael earned benefits under the Lamb-Weston Plan

from 1988 to 2014.




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       In 2014, the Lamb-Weston Plan merged with the ConAgra Plan. The portion of

the ConAgra Plan resulting from this merger (“Bargaining Unit Plan”) provides “pension

benefits to participants who work or have worked for ConAgra and previously worked

for Lamb-Weston, Inc. and/or Amfac Foods, Inc.” Dkt. 1, ¶ 17. The Bargaining Unit Plan

contains a sample calculation (“Benefit Formula”) with a 35-year service cap (“35-Year

Cap”). The 35-Year Cap only calculates “the last 35 years” of an employee’s service and

disregards employment service (“Disregarded Service”) beyond 35 years. Thus, in

Michael’s situation, seven years of her 42 years of employment were classified as

Disregarded Service under the Bargaining Unit Plan.

       In 2016, Michael concluded her employment at Lamb-Weston and began

receiving pension benefit payments shortly thereafter. However, Michael believed that

her payments were less than the amount due under the ConAgra Plan. On July 20, 2017,

Michael filed a claim with the Administrative Committee claiming that the 35-Year Cap

was misapplied to her benefits calculations. Specifically, she claimed that reducing her

benefits by all the retirement income accrued and paid under the Prior Amfac Plan,

including retirement income accrued during her seven years of Disregarded Service (i.e.

1975 to 1981), was an excessive subtraction under the ConAgra Plan.

       On September 13, 2017, Michael received written notice from Ryan Egan, Vice

President of Human Resources for ConAgra Brands, Inc., that the Administrative

Committee denied her claim. The basis for the denial was that “the number of years of




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service under the Prior [Amfac] Plan does not impact the [35-Year Cap]” under the

Bargaining Unit Plan, and her benefits were calculated correctly. Dkt. 1, ¶ 34.

       Shortly thereafter, Michael filed an appeal with the Appeals Committee,

questioning the application of the 35-Year Cap to her benefits and other employees

similarly situated. Michael, again, received written notice from Mr. Egan that the

committee denied her appeal because the subtractions to her benefits calculation were

“properly applied in accordance” with the Prior Amfac Plan. Id. at ¶ 39.

       On June 18, 2018, Michael filed her Complaint seeking to recover employment

benefits on behalf of herself and other employees similarly situated. On August 21, 2018,

the Court entered an order granting a stipulation that Michael had “until August 31, 2018

to make a decision and notify Defendants regarding whether she [would] voluntarily

amend her Complaint.” Dkt. 4. The Court established a September 10, 2018, deadline for

Michael “to file an amended complaint.” Id. Michael did not amend her complaint, and

Defendants filed their Motion for More Definite Statement on October 10, 2018. Dkt. 5.

                               III. LEGAL STANDARD

       Rule 12(e) allows a party to move for a more definite statement of a pleading to

which a responsive pleading is allowed but which is so vague or ambiguous that the party

cannot reasonably prepare a response. Fed. R. Civ. P. 12(e).

       Rule 12(e) has a specific and limited purpose and is only used when a complaint

fails to meet the minimal pleading standards that put the defendant fairly on notice.

F.R.C.P. 12(e). A motion for a more definite statement is a tool that a party may employ



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when a complaint is so general that the defendant cannot reasonably prepare the required

response. Sagan v. Apple Computer, Inc., 874 F. Supp. 1072, 1077 (C.D. Cal. 1994).

Thus, Rule 12(e) focuses on the pleading and not the merits of any claim; it only analyzes

whether the plaintiff has met the minimal pleading standards is such a way that a

defendant may reasonably answer the complaint.

       A court’s Rule 12(e) analysis is also informed by whether a plaintiff’s complaint

complies with Rule 8(a)—specifically, whether the Complaint includes “a short statement

of the elements of his claims, identifying the transactions or occurrences giving rise to the

claim and elements of the prima facie case.” Bautista v. Los Angeles Cnty., 216 F.3d 837,

840 (9th Cir. 2000); see also Hearne v. Welch & Allan, 2006 WL 22184, at *2 (D. Idaho

Jan. 4, 2006) (“[T]o determine whether Defendants are entitled to a more definite

statement of the complaint . . . the Court must address whether Plaintiff’s Complaint

complies with Rule 8(a).”).

       Motions for a more definite statement are not favored by the courts since

pleadings are only required to fairly notify the opposing party of the nature of the claim.

A.G. Edwards & Sons, Inc. v. Smith, 736 F. Supp. 1030, 1032 (D. Az. 1989). A motion

for a more definite statement is only proper when a party is unable to determine the issues

he must meet; it should not be used to test an opponent’s case. Id.

                                    IV. DISCUSSION

       Defendants allege that Michael’s Complaint is unclear as to whom each claim

applies. Hence, the Court must determine whether Michael’s Complaint places the



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Defendants on fair notice regarding the nature of the claims against them and the demand

for the relief sought. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 574 (2007).

       A. Claims for Breach of Fiduciary Duty

       Counts I and II of the Complaint allege breach of ERISA fiduciary duties. The

ERISA statute provides various causes of action for employees to obtain benefits they are

entitled to receive from their employer. ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3),

authorizes breach of fiduciary duty claims by allowing:

       a participant, beneficiary, or fiduciary(A) to enjoin any act or practice
       which violates any provision of this subchapter or the terms of the
       plan, or (B) to obtain other appropriate equitable relief (i) to redress
       such violations or (ii) to enforce any provisions of this subchapter or
       the terms of the plan . . . .

ERISA § 404, 29 U.S.C. § 1104, creates statutory duties for qualified ERISA fiduciaries.

       Here, Michael cites 29 U.S.C. § 1104, ERISA § 404, as the basis for her breach

claims. Notably, this section does not expressly authorize civil actions for breach of

fiduciary duty; rather, it creates ERISA fiduciary duties. Regardless, the statute and the

text clearly state that the nature of the claims alleged are for breach of specific ERISA

fiduciary duties. However, the Court struggles to determine with any degree of certainty

whether the claims apply to all, or only some, of the named defendants because the

Complaint refers inconsistently to the Defendants—sometimes individually and

sometimes in the aggregate—and contains unclear references to the claims and their

relation to the respective Defendants.

       1. Count I



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       The caption for Count I seeks “Declaratory Judgment and Injunctive Relief—For

Breach of ERISA Fiduciary Duties by Subtracting Excessive Amounts From Benefits

Calculated Under Bargaining Unit Plan, Against All Defendants.” Dkt. 1 at VI. COUNT I

(emphasis added). On its face, “Against All Defendants” appears to include all the

defendants, and the statutory reference identifies the nature of the claim as a breach of a

specific ERISA fiduciary duty. Thus, Count I appears to allege a breach of fiduciary duty

claim against all named defendants.

       However, not all of the Defendants qualify as ERISA fiduciaries. Defendants

correctly point out that an ERISA plan itself “cannot, as an entity, act as a fiduciary” and

therefore, “cannot be sued for breach of fiduciary duty.” Acosta v. Pac. Enterprises, 950

F.2d 611, 618 (9th Cir. 1991), as amended on reh’g (Jan. 23, 1992). What’s more,

Michael does not identify the ConAgra Plan as a plan fiduciary in the section of her

Complaint titled, “Defendants and Fiduciary Status.” Dkt. 1 at (III)(B). She merely

asserts that the ConAgra Plan is an “employee pension benefit Plan ‘within the meaning

of ERISA § 3(2)(A), 29 U.S.C. § 1002(2)(A).’” Id. at ¶ 5. Although the apparent

conjunctive section heading could arguably apply fiduciary status to all undermentioned

defendants, Michael identified all other named defendants as “plan fiduciar[ies]” under

specific ERISA sections. See Id. at ¶¶ 6, 7, & 8. She also acknowledges in Count II that

the ConAgra Plan is not a fiduciary. Infra (IV)(A)(2). Where Michael took care to

identify each named Defendant and its status, along with the relevant ERISA sections, it

is likely that she does not consider the ConAgra Plan to be a plan fiduciary. Where



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Michael cannot ultimately prevail on a claim for breach of fiduciary duty against the

ConAgra Plan—the first-named defendant—“Against All Defendants” appears to be an

error.

         However, where Michael “seeks ‘to recover benefits due to [her] under’ ” an

ERISA plan, the ConAgra Plan may be joined as a defendant in her “action for breach of

fiduciary duty in order that [she] may obtain the relief sought.” Id. However, Count I

does not allege a claim for benefits. Although the Complaint’s “Introduction” contains

language appearing to allege this claim—along with alternative claims for breach of

fiduciary duty—the Counts do not identify the ConAgra Plan, nor is there a separate

claim for benefits. The omission of the ConAgra Plan is confusing at best and requires

the Court to look to other sections of the Complaint for clarification.

         Michael obscures her use of “All Defendants” further by failing to connect the

ConAgra Plan to the Administrative and Appeals Committees in her allegations and

demand for relief. See Dkt. 1 at ¶¶ 47-59. Michael alleges only that the Administrative

Committee breached its fiduciary duties under ERISA § 404, 29 U.S.C. §

1104(a)(1)(A)(i) and (D), by making “Excessive Subtractions” of benefits. Dkt. 1. at ¶ 51.

Count I also alleges that “[t]he Appeals Committee breached its fiduciary duties imposed

by ERISA § 404, 29 U.S.C. §1104(a)(1)(A)(i) and (D), by perpetuating the unreasonable

application of the Benefit Formula . . . .” Id. at ¶ 52. Michael’s stated relief is for

“declaratory judgement” that “ERISA does not permit the Excessive Subtractions” made

by Defendants and “injunctive relief ordering Defendants to recalculate the benefits



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under” the ConAgra Plan. Dkt. 1 VI. at ¶¶ 53-54 (emphasis added). Although Michael

specifies her allegations are against both committees, the ConAgra Plan is not mentioned

at all. The omission is obvious in light of the fact that she took care to specify the

committees’ actions constituting the alleged breach.

       Furthermore, Michael’s “Facts” section refers to “the Plan” making reduced

payments to Michael because the Administrative and Appeals Committees permitted

excessive subtractions under the ConAgra Plan. See e.g. Dkt. 1 ¶ 28. However, the Court

is unclear whether this lone reference to “the Plan” refers to defendant ConAgra Plan

because the Complaint defines several different plans (e.g. Prior Amfac Plan, Bargaining

Unit Plan, ConAgra Plan). Paragraph 28 of the Complaint also does not appear to

correlate with Count I because Count I does not allege that “the Plan” breached a

fiduciary duty. The lack of specificity in this Complaint requires a reader to seek clarity

by relying on inconsistent and imprecise references to parties and claims throughout the

Complaint. Although one might ultimately draw an inference that “the Plan” is indeed the

“ConAgra Plan,” and therefore, included in Count I’s reference to “All Defendants,”

Defendants “should not have to speculate or determine the nature of the claims brought

against them through inferences.” Hearne, 2006 WL 22184, at *3.

       Thus, the Court finds that the Complaint requires Defendants to speculate or infer

the nature of the claims against them and the demand for relief sought. Therefore, a more

definite statement is required to clarify which Defendants are included in Count I.

       2. Count II



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         Count II is even less clear than Count I as to whom the claim applies. The caption

for Count II asserts a claim, “For Breach of Fiduciary Duty under ERISA § 404 in Failing

to Discharge Their Duties ‘Solely in the Interest of the Participants and Beneficiaries.’”

Dkt. 1, VI. Count II (emphasis added). Michael bases this claim on ERISA §404(a)(1),

(1)(A)(i) and (1)(D), 29 U.S.C. §§1104(a)(1), (1)(A)(i) and (1)(D), which identify the

nature of the claim as breaches of different ERISA fiduciary duties. Unfortunately, the

Count’s only reference to the Defendants is the identifier “Their.” If “Their” refers to the

parties in Count I, one could infer that “Their” is the pronoun for “All Defendants.”

However, as the Court has explained, Count I is unclear as to whether it applies to the

ConAgra Plan. Supra at (IV)(A)(1).

         Michael’s factual allegations obscure whether “Their” refers to “All Defendants”

by acknowledging that “[o]ther than the ConAgra Plan itself, the Defendants are ERISA

Plan Fiduciaries” subject to breach of fiduciary duty claims “under ERISA § 404(a)(1),

29 U.S.C. § 1104(a)(1).” Dkt. 1, ¶ 57. In other words, Michael recognizes that she cannot

sue the ConAgra Plan for the breach of fiduciary duty claims alleged in Count II because,

as an entity, it is not a fiduciary. This begs the question, however, if Michael knows she

cannot sue the ConAgra Plan for breach of fiduciary duty in Count II, does she also know

that she cannot sue the ConAgra Plan for breach of fiduciary duty in Count I? 1




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    Indeed, this might explains why the ConAgra Plan is not mentioned by name in Count I.



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       Continuing on, the factual allegations refer generally to “Defendants,” with,

ostensibly, the exception of the ConAgra Plan. Thus, Michael’s use of “Defendants” in

Count II is ambiguous and appears to be used differently between Counts I and II.

       Reading the Counts together, the Court is uncertain which claims apply to which

Defendants. That the Court finds itself resorting to logical inferences and interpretations

of case law to determine whom Michael intends to sue under each count is evidence that

a More Definite Statement as to the breach of fiduciary duty claims alleged in Counts I

and II in warranted.

       B. Claim for Benefits

       The Court must next determine whether the Complaint fairly notifies the

Defendants of a claim for benefits and the relief sought. ERISA § 502(a)(1)(B), 29

U.S.C. § 1132(a)(1)(B), authorizes an ERISA “participant or beneficiary…to recover

benefits due to [her] under the terms of [her] plan, to enforce [her] rights under the terms

of the plan, or to clarify [her] rights to future benefits under the terms of the plan.”

       Michael’s Complaint does not contain a separate count for a claim for benefits,

suggesting she does not intend to allege it. However, Michael appears to refer to a claim

for benefits in her “Introduction.” Although she does not specify what statutory authority

the claim for benefits arises under, Michael requests “to have [her] benefits properly

computed pursuant to the terms of the ConAgra Plan.” Dkt. 1 p. 2 ¶ 2. Arguably,

requesting proper computation of benefits is Michael’s attempt to “recover benefits due

to [her] under the terms of” the ConAgra Plan or to “enforce” or “clarify [her] rights to



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future benefits.” ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B). In fact, Defendants

acknowledge this as a possible claim for benefits; but the lack of a separate count for the

claim casts doubt on this conclusion. See Dkt. 5-1, p. 3 ¶ 1. Notwithstanding, Michael

confirmed her intention to pursue a claim for benefits in her Response brief to the instant

motion; but she still fails to clarify whom the claim is against. See Dkt. 8 p. 5 ¶ 2.

          Determining to whom this claim applies cannot be achieve with any degree of

certainty. This is primarily because Michael’s requested relief is an order that “ConAgra

pay the properly-computed benefits.” Dkt. 1 p. 2 ¶ 2. “ConAgra” is not a named party,

and Michael does not define its legal status or clarify its relationships to the Defendants

actually named in the Complaint. Although “ConAgra” might refer to all named

defendants, Michael does not establish this. Where Michael took care to define the legal

status of each Defendant and their relationships with each other, her omission to do so for

“ConAgra” suggests it is not a party to the case. What’s more troubling is that this

language is Michael’s only possible statement indicative of a claim for benefits made in

connection with any demand for relief, and it seeks relief from and unnamed, undefined

entity.

          The Prayer for Relief confuses this point further. There, Michael requests a

judgement “[o]rdering Defendants to (re-)calculate the benefits,” of Michael and others.

Dkt. 1 VII. at ¶ D (emphasis added). Although the relief requested may not be exclusive

to a claim for benefits, the Court will assume arguendo that it is. Thus, “Defendants”

would refer to “ConAgra” mentioned in the “Introduction.” However, Michael uses the



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term “Defendants” ambiguously and inconsistently between Counts I and II. See Supra

(IV)(A)(1) & (2). Where Michael employs inconsistent references elsewhere, the Court

cannot determine with any degree of certainty that the same pattern of inconsistency

applies here. Thus, the reference to the unnamed, undefined entity is ambiguous as to

whom the claim applies and against whom relief is sought.

       This ambiguity is even more apparent where the “Introduction” identifies the

Administrative and Appeals Committees as Defendants in connection with Michael’s

alternative “claim under ERISA § 404, 29 U.S.C. § 1104” for breach of fiduciary duty in

the sentence immediately following her reference to a claim for benefits. Dkt. 1 p. 2 ¶ 2.

The Court is uncertain why Michael took care to identify named defendants in one

sentence, but omitted to do so in the preceding sentence. What’s more, it is also unclear

why Michael never specifically identifies the ConAgra Plan as a defendant in connection

with either claim in her “Introduction,” yet maintains that Defendants received notice

from Counts I and II—which also do not specifically refer to the ConAgra Plan—that the

ConAgra Plan was a Defendant as it relates to a claim for benefits.

       Michael contends that the Defendants received adequate notice of the claims

against them because they acknowledge the possibility of a claim for benefits and claims

for breach of fiduciary duty. See Dkt. 8 at 2 ¶ 1. However, the Court agrees with

Defendants that a party “should not have to speculate or determine the nature of the

claims brought against them through inferences.” Hearne, 2006 WL 22184, at *3.

Michael inconsistently and imprecisely refers to parties and claims throughout her



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Complaint. She elects for precision as to some claims—but not others—and does so with

variation between sections of her Complaint. These patchwork references leave the

various Defendants guessing as to whether or not they must respond to any given claim.

       Relying on inferences is particularly problematic where Michael’s Complaint does

not lead to any single conclusion as to which claims apply to each defendant. For

example, the claim for benefits could be against all Defendants, or just the ConAgra Plan.

Count I could apply to all Defendants, including the ConAgra Plan, or, similar to Count

II, apply only to the Administrative and Appeals Committees—the ERISA fiduciaries.

However, even these outcomes rely on inferences regarding Michael’s use of the term

“defendants,” “their,” and the application of case law. See Supra (IV)(A)(1) & (2).

       Finally, relying on inferences is particularly problematic where the ERISA claims

in this case have varying initial disclosure requirements under Fed. R. Civ. Pro. Rule 26.

Clarifying which claims apply to each named defendant now will not only allow

Defendants a fair opportunity to respond, but will assist the Court (and Counsel) in

determining the scope of discovery. Requiring Michael to more fully comply with Rule 8

will also facilitate a “speedy, efficient, and inexpensive resolution of the case.” Takata v.

Hartford Comprehensive Employee Benefit Serv. Co., No. CV-11-5068-RMP, 2012 WL

12830390, at *2 (E.D. Wash. Mar. 28, 2012).

       Upon review, the Court finds that the Complaint does not fairly notify the

Defendants of the nature of the claims against them and the demand for the relief sought.

A More Definite Statement is, therefore, necessary.



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                                     V. ORDER

  1. Defendants’ Motion for a More Definite Statement (Dkt. 5) is GRANTED.

  2. Plaintiff shall file an amended complaint that substantially complies with the

     Court’s above analysis within 30 days.


                                               DATED: April 23, 2019


                                               _________________________
                                               David C. Nye
                                               U.S. District Court Judge




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